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             mailroom,
                                         IN THE UNITED STATES DISTRICT COURT
           HOV         OTB 1       1     FOR THE EASTERN DISTRICT OF VIRGINIA

            'G         i^TOeQtJFVLIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                        CRIMINAL RULE 57.4
                   In Case Number I:i9md29)5                 ,Case Name IN RE: CAPITAL ONE CONSUMER DATA S|g
                   Party Represented by Applicant: Plaintiffs Christina Labajo and Mary Yoon

To: The Honorable Judges ofthe United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME(no initials, please) Frederick John Klorczyk l|]
Bar Identification Number 320783                  State California
Firm Name Bursorfi Fisher PA
Firm Phone # (925) 300-4455                     Direct Dial#                                     FAX# (925)4Q7-27QQ
E-Mail Address fklorczvk@bursor.com
Office Mailing Address 1990 N.California Blvd.. Suite 940, Walnut Creek,California 94596

Name(s)of federal court(s) in which I have been admitted See attachment "A"

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hoc vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or (Itness as a
member of the bar.


I hereby certify that, within ninety (90) days before the submission of this application, 1 have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.


I am       am not ^ a full-time employee of the United States of America, and if so. request exemptio                         dmissi


                                                                                       (Applicant s Signature)

1, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; ♦hSti know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hoc vice.


                                                   (Signature)                                                    (Date)

                                                             (Typed or Printed Name)                              (VA Bar Number)
Court Use Only:

Clerk's Fee Paid             or Exemption Granted

The motion for admission is GRANTED                   or DENIED



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                          IJn'TH S":Vt              .'"dnn                                       IvAJM.          f\ c*"*' I
                         (Judge s Signature)'                                                  (Date)                      *
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